68 F.3d 458
    U.S.v.Trevor R. Yancey, a/k/a Kenneth J. Smith, a/k/a Thomas H.Buseck, a/k/a Kevin M. Kissling, a/k/a Andrew S. Young,a/k/a Steven Minor, a/k/a David O. Dawson, a/k/a MichaelWorkman, a/k/a Kevin P. O'Brien, a/k/a Christopher L. DeHaven
    NO. 94-1938
    United States Court of Appeals,Third Circuit.
    Sept 19, 1995
    Appeal From:  E.D.Pa., No. 93-cr-00163-2
    
      1
      AFFIRMED.
    
    